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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: ASBESTOS PRODUCTS      :
LIABILITY LITIGATION (No. VI) :        Consolidated Under
                              :        MDL DOCKET NO. 875
DIANNA K. LARSON, ET AL.,     :
                              :
     Plaintiffs               :        Case No. 09-69123
                              :
          v.                  :
                              :        Transferred from the
BONDEX INTERNATIONAL, ET AL., :        Central District of Utah
                              :
     Defendants               :


                         M E M O R A N D U M


EDUARDO C. ROBRENO, J.                             November 15, 2010


     Before the Court is Defendant Georgia Pacific, LLC’s

Objections to Magistrate Judge Angell’s Memorandum Opinion

regarding Defendant’s Motion to Exclude Plaintiffs’ Experts’

Testimony.   (doc. no. 75.)    Also before the Court is Plaintiffs’

Objections to Magistrate Judge Angell’s Memorandum Opinion

regarding Plaintiffs’ Motion in Limine.       (doc. no. 76.)     Judge

Angell denied the parties’ motions in limine on the grounds that

all experts presented in the instant case meet the requisite

standard of qualification, reliability, and fit under Federal

Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals,

Inc., 509 U.S. 579 (1993).
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I.   Background

     Plaintiff Dianna Larson was diagnosed with mesothelioma in

2006.   (Mem. Op., doc. no. 73, at 1.)        Plaintiffs allege that the

mesothelioma is the result of exposure to asbestos in joint

compound products which Dianna Larson used in the 1970s when she

and her first husband built two homes in Utah.          (Id.)   Named

Defendants are alleged to have manufactured, sold or distributed

chrysotile-containing joint compound products.          (Id.)

     After an initial voluntary dismissal of the action, the case

was re-filed in the Third Judicial District Court, Salt Lake

County, Utah, and removed to the United States District Court for

the District of Utah in 2008.       (Id., at 1 n.1.)     The case was

transferred to the Eastern District of Pennsylvania as part of

MDL 875 In Re: Asbestos in June 2008.         (Id.)

     Dianna Larson alleges that she was exposed to Defendant’s

asbestos-containing joint compound products during the

construction of two homes, which she and her first husband

conducted with virtually no outside assistance.          (Id. at 2.)

Dianna Larson alleges that she was exposed when she sanded down

Defendant’s asbestos-containing products, used asbestos-

containing sheetrock for the walls and ceilings, cleaned up the

sites where Defendant’s products were used, and cleaned the

clothes worn by her and her husband, which contained asbestos

dust.   (Id. at 2.)


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      Both Plaintiffs and Defendants have filed motions to exclude

each other’s expert testimony regarding the cause of Dianna

Larson’s injuries under Federal Rule of Evidence 702 and 703.



II.   Standard of Review

      Federal Rule of Evidence 702 sets forth the standard for

admitting expert testimony.      The Rule requires that an expert

witness must be “qualified as an expert by knowledge, skill,

experience, training, or education” may testify as to his or her

opinion if “(1) the testimony is based upon sufficient facts or

data (2) the testimony is the product of reliable principles and

methods, and (3) the witness has applied the principles and

methods reliably to the facts of the case.”         Fed. R. Evid. 702.

The Third Circuit has explained that “Rule 702 embodies a trilogy

of restrictions on expert testimony: qualification, reliability,

and fit.”   Schneider v. Fried, 320 F.3d 396, 404 (3d Cir.

2003)(citing Daubert v. Merrell Dow Pharmaceuticals, Inc., 509

U.S. 579 (1993)).

      The “reliability” of the underlying principles and methods

is the basis for each parties’ objection to expert testimony in

the instant case.    (Mem. Op., doc. no. 73, at 3.)        To determine

the reliability of a scientific principle or method, a court may

examine numerous factors, including whether the principle or

method has been tested or is capable of being tested, whether the


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potential rate of error in the method can be ascertained, whether

it has been subjected to peer review and publication, and whether

it is generally accepted within the scientific community.

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, at

593-94.   The test for reliability is “flexible,” and a court has

“broad latitude” in how it chooses to determine liability.            Kumho

Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 141 (1999).          The

approach to determining reliability of expert testimony is “tied

to the facts” of a particular case, and highly dependent on the

nature of the expert testimony presented.       Id. at 148 (quoting

United States v. Downing, 753 F.3d 1224, 1242 (3d Cir. 1985).

     In reviewing objections to a magistrate judge’s ruling on a

non-dispositive matter, a district court will only reverse a

magistrate judge’s decision if it “is clearly erroneous or

contrary to law.”   Fed. Rule. Civ. P. 72(a).       A magistrate

judge’s ruling concerning the admissibility of expert testimony

is non-dispositive discovery ruling, and is therefore subject to

a clearly erroneous standard of review.       See, e.g., U.S. v.

Polishan, 336 F.3d 234, n.2 (3d Cir. 2003)(noting that the

District Court found that the Magistrate Judge’s discovery

rulings were not clearly erroneous).



III. Analysis

     The motions at issue, and objections to Judge Angell’s


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Memorandum Opinion for each, are addressed below ad seriatim.


     A.      Defendant Georgia Pacific LLC’s Motion to Exclude
             Testimony of Plaintiff’s Experts Dr. Arnold Brody and
             Dr. Jacques Legier Under Federal Rule of Evidence 7021

     Defendant Georgia Pacific LLC (“Georgia Pacific”) objects to

the admission of Plaintiff’s experts, cellular biologist Arnold

Brody, Ph.D., and pathologist Jacques Legier, M.D., who testify

that inhaled chrysotile fibers can cause peritoneal mesothelioma.

(doc. no. 19.)      Georgia Pacific argues that these opinions are

not based on generally accepted scientific evidence, and are

based on “fatally flawed” methodology.          (Def.’s Mot., doc. no.

19, at 5.)

             1.   Dr. Brody’s Opinion

     It is Dr. Brody’s opinion that all asbestos fiber varieties,

including the chrysotile variety involved in the instant case,

can cause asbestosis, pleural fibrosis, lung cancer, and

mesothelioma.      (Mem. Op. at 6)(citing “Asbestos Induced Lung

Diseases” by Arnold R. Brody, Ph.D., doc. no. 19-12, at 2.)              Dr.

Brody supports his opinion by testifying that there are

“scientific investigations on humans and correlative animal and

cell studies” confirming the relationship between asbestos fibers


     1
      Defendant Union Carbide joined in Georgia Pacific LLC’s
motion (doc. no. 24.) Defendant Bondex filed a Motion in Limine
similar to Georgia Pacific LLC’s (doc. no. 23.) Bondex did not
object to Magistrate Judge Angell’s denial of Bondex’s motion,
and filed a Suggestion of Bankruptcy on July 2, 2010 (doc. no.
74.)

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and four asbestos-related diseases discussed.           (Mem. Op. at 7;

Id.)    Dr. Brody included in his curriculum vitae a list of one

hundred and forty-six peer reviewed publications, and

approximately fifty chapters, authored or co-authored by Dr.

Brody.    (Mem. Op. at 7.)

       Judge Angell ultimately determined that Dr. Brody’s opinion

was reliable, and that any concern about lack of citation to

specific studies can be introduced on cross-examination, and be

considered by the jury in determining the weight that should be

given to his testimony.       (Id. at 8.)    Judge Angell noted that Dr.

Brody’s expert testimony at trial will be limited to “general

testimony about how asbestos causes cancer and may not include

any opinion as to specific causation in this case.”            (Mem. Op. at

6.)    Plaintiffs are offering Dr. Brody’s testimony to “educate

the jury” about “the physiological design and function of the

lungs, how asbestos fibers migrate throughout the body and are

deposited in the lungs, the different types of asbestos fibers,

and how all exposures to asbestos contribute to cause an

individual’s disease.”       (Pl.’s Mem., doc. no. 43, at 21.)

       Defendants object to Judge Angell’s finding on the basis

that Dr. Brody’s opinion is not based on “scientifically valid

methodology,” namely, that Dr. Brody did not evaluate the

relevant epidemiological literature before reaching his opinions.

(Def.’s Objects., doc. no. 75, at 5.) (citing Dep. of Arnold R.


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Brody at 8:18-24.)2         Defendants argue that the epidemiological

link between certain kinds of asbestos fibers and disease

processes is well-established.           (Def.’s Objects., doc. no. 75, at

6-7.)       Further, Defendant argues that district courts in this

Circuit have held that “no reliable scientific approach can

simply ignore the epidemiology that exists.”              (Def.’s Objects.,

doc. no. 75, at 8)(citing Perry v. Novartis Pharmaceuticals

Corp., 564 F. Supp. 2d 452, at 465 (E.D. Pa. 2008)).               Defendant

asserts that Dr. Brody does not rely on any epidemiological

studies and is therefore inherently unreliable.              (Def.’s

Objects., doc. no. 75, at 8, n.9.)

     However, in Heller v. Shaw Industries, 167 F.3d 146(3d Cir.

1999), the Third Circuit Court of Appeals emphasized the

“flexible nature” of the Daubert inquiry, and held that an expert

does not have to “cite published studies on general causation in

order to reliably conclude that a particular object caused a

particular illness.”          Id. at 157.    Further, the Perry court noted

that, “it has not been declared in [the Third Circuit] that

epidemiological studies are an indispensable element in the

presentation of a prima facie [] product liability case” but that



        2
      Q: [. . . ] Is it fair to say you have not undertaken to
evaluate the epidemiological literature to determine the extent
to which well-differentiated papillary mesothelioma has been
associated with asbestos exposure?

     A: Correct.

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“epidemiology is the primary generally accepted methodology for

demonstrating a causal relation between a chemical compound and a

set of symptoms or disease.”     Perry, 564 F. Supp. 2d at 465

(internal citations omitted).

     Dr. Brody may not have relied on epidemiological studies,

but his expert opinion is not without a reliable basis.          Judge

Angell noted that Dr. Brody relied on one hundred and forty-six

peer-reviewed publications of which he is an author or co-author,

and many of these articles relate to the effects of chrysotile

fibers on a molecular level.     (Mem. Op., doc. no. 73, at 7.)

These articles include, but are not limited to: Chrysotile

asbestos inhalation in rats: deposition pattern and reaction of

alveolar epithelium, and pulmonary macrophages. (doc. no. 19-2,

at p. 13, article no. 32); Interstitial accumulation of inhaled

chrysotile asbestos fibers and consequent formation of

microcalcifications (Id., article no. 34); Characterization of

three types of chrysotile asbestos after aerosolization (Id.,

article no. 42); Chrysotile asbestos inhalation induces tritiated

thymidine incorporation by epithelial cells of distal bronchioles

(Id., article no. 78.); see also article nos. 93, 102.

     Given the purpose of Dr. Brody’s testimony, to assist the

jury in understanding the relationship between exposure to

asbestos fibers and disease processes generally, and the breadth

of peer-reviewed publications relied on, this Court will not


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disturb Judge Angell’s finding that Plaintiff has met the

reliability requirement of Rule 702 and Daubert.3



                      2.   Dr. Legier’s Opinion

     Dr. Jacques Legier will offer testimony that “[t]he

consensus of the medical and scientific community supports the

conclusion that both pleural and peritoneal mesothelioma are

signature diseases caused by exposure to asbestos, including

chyrostile asbestos.”       (Mem. Op. at 11)(citing Supplemental

Expert Report of Jacques Legier, M.D., doc. no. 19-7, at 2.)             In

support of his opinion, Dr. Legier cites, inter alia, peer-

reviewed medical literature, case reports of individuals who were

exposed to chrysotile fibers and developed peritoneal

mesotholioma, and fiber migration studies showing that chrysotile

fibers have the capacity to cause malignant changes in the

mesothelial cells.      (Id.)

     Judge Angell rejected Defendant’s argument that Dr. Legier’s



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      This Court recently admitted the testimony of Dr. Brody
regarding general causation in an asbestos personal injury trial
before Judge Robreno. See Schumacher v. Amtico, Docket No. 10-
01627 (E.D. Pa. 2010). Just as in the instant case, Dr. Brody was
offered to assist the jury in understanding the mesothelioma
disease process generally. Though his opinion that every
exposure to asbestos is a cause of the disease is subject to a
bona-fide debate in the scientific community, and could even be
called “shaky” by some, the Court, in its gatekeeping role, found
that Dr. Brody’s opinion satisfied the three Daubert requirements
and allowed the jury to hear his testimony.


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opinion is unreliable because the scientific methods he cites

“have been used in incomplete and misleading ways” and “ignor[es]

relevant epidemiological studies.”         (Mem. Op. at 12)(citing

Def.’s Mot., at 16-17.)       Judge Angell found that first,

epidemiology studies are not per se required.           (Mem. Op. at

12)(citing Heller v. Shaw Industries, 167 F.3d at 155-56(3d Cir.

1999)).    Further, Dr. Legier’s report does not ignore

epidemiological studies, rather, the studies he relies on are

contrary to the studies which Defendant’s expert relies on.

(Id.)

       Defendants object to Judge Angell’s findings on the ground

that Dr. Legier “fail[s] to consider the available epidemiology”

and that he “rejects[s] well-accepted statements in the

scientific literature.”       (Def.’s Objects., doc. no. 75, at 10.)

Further, Defendants argue that Dr. Legier’s differential

diagnosis is fatally flawed because he did not consider a

potential idiopathic origin to Ms. Larson’s disease.            (Id. at

11.)

       First, Dr. Legier’s report relies on numerous

epidemiological studies, including, but not limited to, Consensus

Report (Helsinki Criteria) Scandinavian Journal or Work and

Environmental Health 1992; 311-316 at 313 (Dr. Legier Rep., doc.

no. 19-15, at 4) and noted epidemiologist Paolo Boffeta’s




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Epidemiology of Peritoneal Mesothelioma: a Review (Id. at 6.)

Further, the sources that Dr. Legier relies on are based on

findings from numerous epidemiological studies.          Defendants are

free to challenge the specific epidemiological studies, and the

way in which Dr. Legier interprets them, at trial.

      Second, regarding Dr. Legier’s alleged failure to consider

an idiopathic origin, the Third Circuit Court of Appeals has

explicitly held that an expert’s opinion should not be excluded

because “he or she has failed to rule out every possible

alternative cause of a plaintiff’s illness.”         Heller at 155, 156.

Rather, “[s]uggested alternative causes” of the injury “affect

the weight that the jury should give the expert’s testimony and

not the admissibility of that testimony.”         Id. at 157.

      Under these circumstances, Dr. Legier’s report satisfies the

reliability requirement of Rule 702 and Daubert.

      B.   Plaintiffs’ Motion In Limine to Exclude or Limit Dr.
           Dyson’s Dose Reconstruction Testimony Pursuant To
           Daubert and Rules 702 and 703 of the Federal Rules of
           Evidence (doc. no. 20)


       Dr. Dyson is prepared to testify at trial that Dianna

Larson’s “exposure dose from the use of all drywall joint

compounds in the construction of her first home is likely to have

been on the order of 0.3 fib*yr/cc or less.”         (doc. no. 20-3, at

5.)   Dr. Dyson asserts that this is “very low” and comparable to

an individuals exposure in an urban environment breathing ambient


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air over a seventy-year lifetime.       (Id.)   Plaintiffs object to

Defendants’ expert, Dr. William L. Dyson’s “dose recreation”

testimony, on the grounds that it fails to satisfy Daubert’s

standard of relevance and reliability, and further argue that

there is not a good fit between this methodology and the facts of

the instant case.    (Pl.’s Objects., doc. no. 76-1, at 6.)

     Judge Angell determined that Dr. Dyson’s testimony meets the

“fit” requirement, as it “aid[s] the jury in resolving [the]

factual dispute” of whether Defendants’ products caused

Plaintiff’s injury in the instant case.         (Mem. Op. at 15)(quoting

Meadows v. Anchor Longwall, 306 Fed. Appx. 781, 790 (3d Cir.

2009)(internal citations omitted).       Judge Angell further found

that Dr. Dyson’s testimony was reliable, as he used “his

knowledge and experience, [and] applied an accepted methodology

to information garnered from Ms. Larson’s medical records,

deposition testimony and answers to discovery requests, and

reached conclusions that reliably flow from the available data

and methodology.”    (Mem. Op. at 15.)

     Under these circumstances, this Court will not disturb Judge

Angell’s findings that Dr. Dyson meets the reliability and fit

requirements of Rule 702 and Daubert.



     C.   Plaintiffs’ Motion in Limine to Exclude or Limit all
          Testimony Regarding Quantification of Exposure (doc.
          no. 25)


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       Plaintiffs have moved to exclude testimony from any of

Defendants’ expert regarding the following matters:

       (1) the quantification of asbestos fiber potency,
       including any opinions made in reliance on the risk
       assessment of Hodgson and Darton, one of the
       various iterations of the Berman & Crump risk
       assessment, or the similar Brattin & Crump
       quantitative risk assessment model; (2) the alleged
       inability of chrysotile asbestos to cause pleural
       or peritoneal mesothelioma; and (3) that there is
       any “safe level” or “threshold dose” of asbestos
       exposure, below which such exposures cannot cause
       mesothelioma.   (Mem. Op., doc. no. 73, at 16,
       quoting Pl.’s Reply, doc. no. 56, at 18.)


       Plaintiffs assert that the above conclusions and

calculations lack reliability and general acceptance in the

scientific community.      (Mem. Op., doc. no. 73, at 16; Pl.’s

Reply, doc. no. 56, at 5-22.)

       Judge Angell determined that Defendant’s experts “used valid

scientific methodology, citing to peer-reviewed scientific

studies, in reaching their conclusions . . . .”           (Mem. Op. at

17.)    Judge Angell characterized Plaintiffs’ Motion in Limine as

an attack on the credibility of Defendants’ experts, which is

appropriate for trial, but not grounds for exclusion under

Daubert.    (Mem. Op. at 17)(citing Kannakeril v. Terminix

International, Inc., 128 F.3d 802, 806 (3d Cir.

1997)(“Admissibility decisions focus on the expert’s methods and

reasoning; credibility decisions arise after admissibility has

been determined.”)).


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      Under these circumstances, this Court will not disturb Judge

Angell’s findings that the above expert opinions meet the

reliability and fit requirements of Rule 702 and Daubert.



IV.   Conclusion

      For the above stated reasons, Defendant Georgia Pacific,

LLC’s Objections to Magistrate Judge Angell’s Order Denying

Motion to Exclude Plaintiffs’ Experts’ Testimony are overruled.

Plaintiffs’ Objections to Judge Angell’s Order Denying

Defendants’ Experts’ Testimony are overruled.          An appropriate

order follows.




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